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T.A. Chey, Esq (CA State Bar License No. 172096)
Attorney
T.A. Chey,atEsq
             Law(CA State Bar License No. 172096)
Attorney at
Arco Tower  Law
1055 West 7th Street
33rd Floor (Penthouse)
Downtown LA, CA 90017
LawFirmofConsumerJustice@activist.com; 424 388 0058

                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
George Chey
                                                                     CASE NUMBER
                                                                       2:21cv06061 GW (MRWx)
                                                     Plaintiff(s),
SHARON GOURDINE, HEARST       v. COMMUNICATIONS,
INC, HEARST MAGAZINE INC, First Citizens Bank,                             NOTICE OF DISMISSAL PURSUANT
Publisher's Clearing House, Does 1-100,                                     TO FEDERAL RULES OF CIVIL
                                                                                PROCEDURE 41(a) or (c)
                                                  Defendant(s).

PLEASE TAKE NOTICE: (Check one)

    ✔ This action is dismissed by the Plaintiff(s) in its entirety.
    G

    G The Counterclaim brought by Claimant(s)                                                                                is
      dismissed by Claimant(s) in its entirety.

    G The Cross-Claim brought by Claimants(s)                                                                                is
      dismissed by the Claimant(s) in its entirety.

    G The Third-party Claim brought by Claimant(s)                                                                           is
      dismissed by the Claimant(s) in its entirety.

    G ONLY Defendant(s)

         is/are dismissed from (check one) G Complaint, G Counterclaim, G Cross-claim, G Third-Party Claim
         brought by                                                                                                      .

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




     8.10.21
                 Date                                                 Signature of Attorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.



CV-09 (03/10)           NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
